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           UNITED STATES DISTRICT COURT
             DISTRICT OF MASSACHUSETTS
_______________________________
                               )
UNITED STATES OF AMERICA, )
                               )
               v.              )
                               ) Criminal No: 19-40025-TSH
JUAN RODRIGUEZ,                )
               Defendant.      )
_______________________________)

   DEFENDANT RODRIGUEZ’S REVISED EXHIBIT LIST

      The Defendant, Juan Rodriguez, through counsel, hereby
submits the instant exhibit list. The Defendant reserves the right to
supplement or modify this list as discovery and trial preparation are
ongoing as well as resulting from evidence developed during the trial.
      1. Photo of Headliners barbershop (intersection)
      2. Photo of Headliners barbershop (front door)
      3. Photo of Headliners barbershop (mural).
                                Respectfully submitted,




                                Peter Charles Horstmann, Esq.
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                  CERTIFICATE OF SERVICE
      I, Peter Charles Horstmann, hereby certify that on this 11th day
of March, 2022, a copy of the Exhibit List was electronically served
upon Greg Friedholm, Assistant United States Attorney, United States
Attorney’s Office, One Courthouse Way, Boston, MA 02210 and all
counsel of record.




                                Peter Charles Horstmann, Esquire




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